                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

   Stanley Ligas, et al.,                     )
                                              )
                        Plaintiffs,           )
                                              )       Case No. 05 cv 4331
          v.                                  )
                                              )       Judge Sharon Johnson Coleman
   Theresa Eagleson, et al.,                  )
                                              )
                        Defendants.           )

               DEFENDANTS’ MOTION TO VACATE THE CONSENT DECREE

          Defendants, by their attorney, Kwame Raoul, Attorney General of Illinois, moves this

Court, pursuant to Federal Rule of Civil Procedure 60(b), to vacate the consent decree entered on

June 15, 2011. The Defendants are filing a memorandum in support of this motion, which is

incorporated herein.

          WHEREFORE, for the foregoing reasons, the Defendants respectfully request that this

Court, pursuant to Federal Rule of Civil Procedure 60(b), vacate the June 15, 2011 consent

decree.

          December 1, 2023

                                              Respectfully Submitted,

KWAME RAOUL
Illinois Attorney General
                                       By:    /s/ Brent D. Stratton
                                              Brent D. Stratton
                                              Karyn L. Bass Ehler
                                              Office of the Illinois Attorney General
                                              100 W. Randolph Street, 12th Floor
                                              Chicago, Illinois 60601
                                              (312) 814-3000

                                              Counsel for Defendants



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                                CERTIFICATE OF SERVICE

The undersigned, an attorney of record, hereby certifies that, on December 1, 2023, he caused to
be filed through the Court’s CM/ECF system a copy of DEFENDANTS’ MOTION TO
VACATE THE CONSENT DECREE. Parties of record may obtain a copy of this filing
through the Court’s CM/ECF system.

                                                    /s/ Brent D. Stratton
                                                    Brent D. Stratton




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                                CERTIFICATE OF SERVICE

         The undersigned, an attorney of record, hereby certifies that, on July 13, 2020, he caused
to be filed through the Court’s CM/ECF system a copy of Governor’s Motion to Vacate the May
5, 1972 Consent Decree. Parties of record may obtain a copy of this filing through the Court’s
CM/ECF system.

                                              /s/ Brent D. Stratton

                                              Brent D. Stratton




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